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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


LARRY VANCE WHITE,

             Plaintiff,                          Case No. 2:23-cv-12091
-vs-                                             Hon. George Caram Steeh
                                                 Mag. David R. Grand
OFFICER THOMAS BAKER, in his individual
capacity, OFFICER RICK ZAMOJSKI, in his
individual capacity, OFFICER JAMES RAYNER,
in his individual capacity, OFFICER JOHN
HEINRICH, in his individual capacity, and
MADISON HEIGHTS POLICE DEPARTMENT,

              Defendants.
 JONATHAN R. MARKO (P72450)
 MARKO LAW, PLLC
 Attorney for Plaintiff
 220 W. Congress, Fourth Floor
 Detroit, MI 48226
 P: (313) 777-7529 / F: (313) 771-5785
 jon@markolaw.com

 NICHOLAS P. SOMBERG (P80416)
 SOMBERG LAW, PLLC
 Co-Counsel for Plaintiff
 31700 Telegraph Road, Suite 210
 Bingham Farms, Michigan 48025
 P: (248) 270-5979
 nick@somberglaw.com


                AMENDED COMPLAINT AND JURY REQUEST

       NOW COMES the Plaintiff, Larry Vance White, by and through his attorneys,

Marko Law, PLLC and Somberg Law, PLLC, and for his Complaint against the above-

named Defendants, states as follows:



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                                       PARTIES

       1.    Plaintiff seeks to hold Defendant Thomas Baker, Defendant Rick Zamojski,

Defendant James Rayner and Defendant John Heinrich liable under 42 U.S.C. § 1983 for

his infliction of excessive force upon Larry Vance White during a July 23, 2022 encounter

that culminated in Mr. Vance’s injuries.

       2.    Plaintiff’s § 1983 claim against Defendant Thomas Baker, Defendant Rick

Zamojski, Defendant James Rayner and Defendant John Heinrich rests with the Fourth

Amendment right to be free from the use of excessive force, free from illegal search and

seizure and free from malicious prosecution.

       3.    Plaintiff is, and was at all times material to his complaint, a citizen of the

United States, and a resident of the State of Michigan and the City of Madison Heights,

Macomb County.

       4.    Defendant Thomas Baker was a law enforcement officer with the Madison

Heights Police Department and at all material to this complaint acting under the color of

law.

       5.    Defendant Rick Zamojski was a law enforcement officer with the Madison

Heights Police Department and at all material to this complaint acting under the color of

law.

       6.    Defendant James Rayner was a law enforcement officer with the Madison

Heights Police Department and at all material to this complaint acting under the color of

law.




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       7.     Defendant John Heinrich was a law enforcement officer with the Madison

Heights Police Department and at all material to this complaint acting under the color of

law.

       8.     The Madison Heights Police Department holds itself out as being committed

to the values of integrity and fairness in its interactions with citizens.

                                      JURISDICTION

       9.     This Court has subject matter jurisdiction over the federal claims raised in

this action pursuant to 28 U.S.C. §§ 1331 and 1343.

       10.    Plaintiff seeks damages and declaratory relief to enforce federal rights under

42 U.S.C. § 1983. Plaintiff also seeks reasonable costs and attorney’s fees under 42 U.S.C.

§§ 1988 and 12205.

       11.    This Court has jurisdiction to issue declarative, and other relief under 28

U.S.C. §§ 2201 and 2202.

       12.    Venue is proper in the Eastern District of Michigan pursuant to 28 U.S.C. §

1391(b) because the events giving rise to this action occurred in the City of Madison

Heights, County of Oakland, State of Michigan.

                                STATEMENT OF CLAIM

       13.    This incident was captured on body camera. Plaintiff will provide a USB to

the Court with the body camera footage that will speak for itself and hereby incorporate

said video footage as part of this complaint.

       14.    On July 23, 2022, Officers were dispatched to the area around Plaintiff’s

residence.




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       15.    Upon arrival, Defendant Heinrich spoke with neighbors of the Plaintiffs,

Brandon Trezeciak and Bethany Nimitz. The neighbor’s children were identified and in

plain view of the police officers.

       16.    Bethany explained that she was informed by the children's aunt, identified as

Desirae Portis, that the children were in Larry White’s home getting ice cream and were

now back home safe.

       17.     Defendants Zamojski, Baker, and Heinrich then went to Larry’s residence.

       18.    Upon the officers’ arrival at the home of Larry White, Larry was cooperative

and spoke with officers while standing in his front doorframe inside his residence.

       19.    Plaintiff had committed no crime.

       20.    Larry White had a legally registered firearm secured in a holster on his right

hip, which he informed officers about at that time.

       21.    Despite no crime having been committed and lacking probable cause,

Defendant Zamojski ordered Larry to step out of his home, to which Larry asked if the

officers had a warrant.

       22.    Defendant Zamojski, absent a valid Arrest or Search warrant and/or probable

cause, grabbed Larry’s right arm in an attempt to pull him out of his home.

       23.    Defendants then entered Plaintiff’s home and brutally tackled Larry and dry

stunned him with a taser multiple times while Larry begged them to stop and told them he

has a heart condition.

       24.    A Madison Heights police officer, believed to be Defendant Zamojski, then

unholstered Larry White’s own gun and put it to the back of his head, execution style, while

Larry was being held face-down on the ground.


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       25.     Prior to Defendants making contact with Larry, there was no ongoing

emergency or danger to the community. The parties were separated and in their own homes.

The children were back home. Larry answered his door and was cooperating and legally

carrying his firearm in his own home.

       26.     Defendants falsely caused charges of Assault with a Dangerous Weapon

(Felonious Assault) and Police Officer - Assaulting/Resisting/Obstructing to be initiated

against the Plaintiff.

       27.     On March 23, 2023 Oakland County Circuit Judge Kwame Rowe Granted

Plaintiff’s Motion to Suppress, specifically “any and all evidence obtained after the police

officers’ illegal entry into Defendant’s home is suppressed, including the pistol that the

officers’ recovered” after determining that “The Police officers’ physical entry into the

home violated Larry White’s right to be free form unreasonable searches and seizures and

violates the 4th Amendment”.

       28.     On May 11, 2023, the prosecution filed an Order of Nolle Prosequi which

was signed and entered with the Court on May 12, 2023, dismissing the remaining

Felonious Assault charge.

       29.     Judge Rowe also granted Defense’s request in the Order of Nolle Prosequi

that the arresting agency shall destroy the fingerprints and arrest card according to law.

       30.     By virtue of the Defendants’ actions, Plaintiff has suffered, and continues

to suffer, damages, including, but not limited to:




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           A.    Physical Pain and Suffering:

                 •   Larry has experienced significant physical pain, discomfort, and

                     suffering as a direct result of the incident. This includes past,

                     present, and future pain caused by his injuries.

           B.    Mental Anguish:

                 •   The incident has caused Larry substantial mental anguish,

                     emotional distress, and psychological trauma, affecting his overall

                     well-being and quality of life.

           C.    Fright and Shock:

                 •   Larry suffered severe fright and shock during the incident, which

                     has had a lasting impact on his mental and emotional state.

           D.    Rotator Cuff Injury (Both Arms):

                 •   Larry sustained a torn rotator, causing him ongoing pain, limited

                     mobility, and impairment in his daily activities.

           E.    Neck and Spine Injuries:

                 •   Larry suffered neck and spine injuries when forcefully slammed

                     to the ground during the incident. This resulted in spinal damage

                     requiring surgical intervention. The surgery involves addressing a

                     six-inch section that is not receiving proper spinal fluid

                     circulation.




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           F.    Memory Loss and Awkwardness:

                 •   Larry has experienced memory loss and cognitive difficulties

                     following the incident, impacting his ability to remember details

                     and navigate daily life. He also reports feelings of awkwardness,

                     likely stemming from his injuries.

           G.    Transient Ischemic Attacks (TIA) and Stroke:

                 •   Larry endured two Transient Ischemic Attacks (TIA) and a

                     subsequent major stroke in December 2022. These medical events

                     required hospitalization, including two overnight stays for the

                     TIAs and a week-long stay for the stroke at Troy Beaumont

                     Hospital.

           H.    Ongoing Therapy:

                 •   Since his hospitalization, Larry has been attending therapy two to

                     three times per week to address the physical, emotional, and

                     psychological effects of the incident.

           I.    PTSD and Anxiety:

                 •   Severe Post-Traumatic Stress Disorder (PTSD) by multiple

                     medical professionals, leading to high anxiety and a profound

                     impact on his mental well-being.

           J.    Loss of Trust and Confidence:

                 •   The incident has eroded Larry's trust in law enforcement, causing

                     him to no longer trust or feel safe around police officers.




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              K.     Physical Limitations and Constant Pain:

                     •   Larry experiences constant pain in his shoulders, limiting his

                         ability to engage in normal activities and diminishing his overall

                         physical capabilities.

              L.     Diminished Enjoyment of Life:

                     •   The injuries sustained have resulted in Larry's inability to enjoy

                         life and partake in activities that once brought him joy.

              M.     Potential Surgery and Impact:

                     •   Multiple surgeries are indicated on Larry’s neck and shoulder. The

                         prognosis indicates that Larry may never fully recover from the

                         effects of the surgery, further impacting his quality of life.

              N.     Diabetic Medication and Denial of Medical Care:

                     • Larry, being a diabetic, was denied access to his necessary

                         medication during his two-night, three-day stay at OCJ.

                                  COUNT I
 EXCESSIVE FORCE IN VIOLATION OF THE FOURTH AND FOURTEENTH
 AMENDMENTS TO THE U.S. CONSTITUTION AND 42 U.S.C. § 1983 (Against
 Defendants Officer Thomas Baker, Officer Rick Zamojski, Officer James Rayner
                         and Officer John Heinrich)

       31.    Plaintiff Larry Vance White hereby incorporates all other paragraphs of this

Complaint as fully set forth herein.

       32.    Plaintiff brings this action pursuant to 42 U.S.C. § 1983 alleging excessive

force in violation of the Fourth and Fourteenth Amendments.

       33.    The Fourth Amendment of the U.S. Constitution protected Larry Vance

White from excessive force and illegal searches and seizure.

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       34. The Fourteenth Amendment of the U.S. Constitution extends the Fourth

Amendment’s protections to the states.

       35.    Plaintiff’s § 1983 claim against Defendant Thomas Baker, Defendant Rick

Zamojski, Defendant James Rayner and Defendant John Heinrich rests with the Fourth

Amendment right to be free from the use of excessive force, free from illegal search and

seizure and free from malicious prosecution.

       36.    Defendants Baker, Zamojski, Rayner and Henrich are a “person,” as defined

under 42 U.S.C. § 1983, and as an agent of the Madison Heights Police Department, were

acting under the color of state law at all times relevant to this action.

       37.    Defendants Baker, Zamojski, Rayner and Heinrich acted under the color of

law with deliberate indifference, and violated Larry Vance Whites right under the Fourth

Amendment to the U.S. Constitution to be free from excessive force

       38.    Defendants illegally seized the Plaintiff.

       39.    Defendants illegally search Plaintiff and his home.

       40.    Larry Vance White did not pose an immediate threat to the safety of the

officers or others. Larry Vance White did not make any verbal threats to the officers.

       41.    At the time Defendant Zamojski pulled on Larry Vance White’s arm, White

was not actively resisting arrest or attempting to evade arrest by flight.

       42.    At the time Defendant Rayner tased Larry Vance White, Larry Vance White

was not actively resisting arrest or attempting to evade arrest by flight.

       43.    Larry Vance White’s right to be free from excessive force as described herein

was clearly established at the time Defendant Zamojski pulled on his arm.




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       44.    Larry Vance White’s right to be free from excessive search and seizure as

described herein was clearly established at the time Defendant Rayner tasered him.

       45.    Larry Vance White’s right to be free from excessive search and seizure as

described here was clearly established at the time Defendant Baker grabbed him.

       46.    Larry Vance White’s right to be free from excessive search and seizure as

described was clearly established at the time Defendant Heinrich placed his hand on him.

       47.    Defendants Baker, Zamojski, Rayner and Heinrich acted intentionally,

maliciously, and in reckless disregard of Larry Vance White’s rights.

       48.    As a proximate result of Defendant’s actions and inactions, Larry Vance

White suffered and continues to suffer damages previously described.

       49.    Larry Vance White is entitled to declaratory relief, compensatory damages,

punitive damages, and reasonable attorneys’ fees and costs.

                                 COUNT II
             MONELL LIABILITY IN VIOLATION OF 42 U.S.C. § 1983
                 (Against Madison Heights Police Department)

       50.    Plaintiff Larry Vance White hereby incorporates all other paragraphs of this

Complaint as if fully set forth herein.

       51.    Plaintiff has been subjected to a deprivation of his constitutionally protected

rights and privileges secured by the United States Constitution as set forth herein.

       52.    The foregoing rights were clearly established at the time of the violations.

       53.    Madison Height Police Department failed to properly train, authorize,

encourage or direct Defendant Thomas Baker, Defendant Rick Zamojski, Defendant James

Rayner and Defendant John Heinrich on the proper use of force.




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         54.   In the alternative, Defendants acted in conformance with Madison Heights

Police Department policy or practice of imposing unnecessary and excessive force.

         55.   The deprivations were caused by the series of deliberately indifferent

policies, customs, and established practices, including inadequate training, by Madison

Heights Police Department, acting under the color of its statutory and legal authority,

including but not limited to:

               a.    Implementing a policy and practice of imposing unnecessary and
                     excessive force.

               b.    Improperly training, authorizing, encouraging or directing officers on
                     proper use of force.

               c.    Failing to investigate allegations of excessive force.

               d.    Failing to discipline officers for violations of policy related to
                     excessive force.

         56.   These customs, policies, and practices of the Madison Heights Police

Department, along with improper training, monitoring, instruction, direction, discipline,

and supervision, were a moving force in the Constitutional violations inflicted by the

individual Defendants upon Larry Vance White.

         57.   This improper training, monitoring, instruction, direction, discipline, and

supervision proximately caused the deprivation of Plaintiffs’ constitutional rights.

         58.   Plaintiff’s Federal Constitutional claims are cognizable under 42 U.S.C.

§1983.

         59.   As a direct and proximate result of the unconstitutional acts of the

Defendants as alleged herein, Plaintiff has sustained a violation of his Rights under the law




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and, as a result, is entitled to declaratory relief, compensatory damages, punitive damages,

and reasonable attorneys’ fees and costs.

       60.    Defendant’s intentional tortious conduct proximately caused Larry Vance

White to suffer injury and damages including, but not limited to, economic and

noneconomic for fear, apprehension, emotional distress, humiliation, loss of reputation,

costs, fees, and reasonable attorney’s fees.

                                 COUNT III
 MALICIOUS PROSECUTION – VIOLATION OF CIVIL RIGHTS PURSUANT
                              TO 42 U.S.C. §1983
 (As to Defendants Officer Thomas Baker, Officer Rick Zamojski, Officer James
                       Rayner and Officer John Heinrich)

       61.    Plaintiff incorporates by reference each and every paragraph of this

Complaint as though fully set forth herein.

       62.    Defendants intentionally violated the civil rights of the Plaintiff through his

malicious and wanton disregard for Plaintiff’s Fourth Amendment rights.

       63.    Defendants maliciously and without probable cause initiated a criminal

prosecution against Plaintiff in violation of his constitutional rights.

       64.    Plaintiff’s Count I was overturned due to Constitutional violations.

       65.    Defendants falsely accused Larry White of “Going for his gun” both at the

incident and in the incident report.

       66.    Defendants falsely reported that Larry White disobeyed a lawful police

command.

       67.    Defendant Baker falsely reported in his incident report that Larry White

“refused to cooperate”.




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       68.    Defendant Baker falsely reported in his incident report that Larry White

“Immediately became combative and started fighting with officers.”

       69.    Defendant Baker falsely reported in his incident report that Larry White “On

the ground refused to listen to verbal commands and kept fighting with the officers and

would not release his hands”

       70.    Defendant Zamojski falsely reported in the incident report that “White pulled

officers into the house”, and “White refused to comply with officers’ orders to give them

his hands”, and “continued to refuse to give officers his hands.”

       71.    After the brutal beatdown by Defendants, multiple Defendants said to Larry

White “You fucking idiot going for your fucking gun”, which was not true.

       72.    These false statements cause criminal charges to be issued against the

Plaintiff.

       73.    On March 23, 2023, Oakland County Circuit Judge Kwame Rowe granted

the plaintiff's motion to suppress evidence obtained after the officers' illegal entry into the

plaintiff's home. The judge specifically determined that the officers' physical entry violated

the plaintiff's Fourth Amendment rights. Additionally, on May 11, 2023, an Order of Nolle

Prosequi was filed, dismissing the remaining charge of "Felonious Assault."

       74.    The charges against the Plaintiff were terminated in his favor.

       75.    The plaintiff had not committed any crime, and there was no ongoing

emergency or danger at the time of the incident.

       76.    Defendants’ actions are depicted as lacking a legal basis or probable cause to

initiate the charges.


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       77.     Defendants falsely reported incidents and actions that did not occur,

indicating a potential lack of objective justification for the charges.

       78.     Defendants made false statements in their incident reports, accusing the

plaintiff of actions he did not commit.

       79.     These false statements are depicted as the basis for the criminal charges

against the Plaintiff.

       80.     These false statements were made with malice or an improper purpose,

intending to unjustly subject the plaintiff to legal proceedings.

                                  COUNT IV
      FAILURE OF A LAW-ENFORCEMENT OFFICER TO INTERVENE
                        IN USE OF EXCESSIVE FORCE
  (As to Defendants Officer Thomas Baker, Officer Rick Zamojski, Officer James
                        Rayner and Officer John Heinrich)

       81.     Plaintiff incorporates by reference each and every paragraph of this

Complaint as though fully set forth herein.

       82.     Any law-enforcement officer who, while in the performance of his official

duties, witnesses another law-enforcement officer engaging or attempting to engage in

the use of excessive force against another person must take action to protect the victim.

       83.     Defendants were aware that a fellow officer violated or was about to

violate Larry White’s Constitutional rights.

       84.     Defendants dry stunned Mr. White repeatedly.

       85.     Larry begged the officers to stop and explained he had a heart condition.

       86.     Defendants pointed Larry’s own firearm to the back on his head.

       87.     Defendants failed to take action to protect Larry.



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       88.    Defendants had the opportunity and means to intervene and stop their

fellow officers from using excessive force against Larry White.

       89.    Given the length of time, the excessive force lasted long enough for

Defendants to perceive what was going on to intercede to stop it.

       90.    Therefore, the officers were aware of the Constitutional violation, had an

opportunity to intervene, and chose not to do so.

       91.    As a result of Defendants’ excessive force, Plaintiff suffered serious and

permanent injuries.

                                 DEMAND FOR RELIEF

       WHEREFORE, Plaintiff prays for entry of judgment finding and awarding as

follows:

              a.      For an Order adjudging the practices and conduct of Defendants

                      complained of herein to be in violation of the rights guaranteed to

                      Plaintiff under the U.S. Constitution, Federal law, and State law;

              b.      For an award to Plaintiff against Defendants, jointly and severally, all

                      relief available under 42 U.S.C. § 1983 to be determined at trial, with

                      interest on such amounts.

              c.      For an award to Plaintiff of actual damages, including those arising

                      from loss of past and future income and benefits, humiliation, mental

                      anguish, loss of reputation, emotional distress and other harm, in an

                      amount in excess of $75,000 against Defendants;




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            d.    For an award of punitive damages in an amount to be determined at

                  trial;

            e.    For an award to Plaintiff of his attorneys’ fees, disbursements, and

                  costs in this action, pursuant to 42 U.S.C. § 1988, and as otherwise

                  available at law or in equity;

            f.    For an award of prejudgment interest; and

            g.    For such other and further relief as the Court deems just and equitable.

                                       Respectfully submitted,

                                       /s/ Jonathan R. Marko
                                       JONATHAN R. MARKO (P72450)
                                       Attorney for Plaintiff
                                       220 W. Congress, 4th Floor
                                       Detroit, MI 48226
                                       P: (313) 777-7529 / F: (313) 771-5785
                                       jon@markolaw.com


                                       /s/ Nicholas P. Somberg
                                       NICHOLAS P. SOMBERG P80416
                                       Co-counsel for Plaintiff
                                       31700 Telegraph Road, Ste. 210
                                       Bingham Farms, Michigan 48025
                                       P: (248) 270-5979
                                       nick@somberglaw.com
Date: August 15, 2023




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                                 JURY DEMAND

      Plaintiff, Larry Vance White, by and through his attorneys, Marko Law, PLLC

and Somberg Law, PLLC hereby demands a jury trial in this cause.

                                       Respectfully submitted,


                                       /s/ Jonathan R. Marko
                                       JONATHAN R. MARKO (P72450)
                                       Attorney for Plaintiff
                                       220 W. Congress, 4th Floor
                                       Detroit, MI 48226
                                       P: (313) 777-7529 / F: (313) 771-5785
                                       jon@markolaw.com


                                       /s/ Nicholas P. Somberg
                                       NICHOLAS P. SOMBERG P80416
                                       Co-counsel for Plaintiff
                                       31700 Telegraph Road, Ste. 210
                                       Bingham Farms, Michigan 48025
                                       P: (248) 270-5979
                                       nick@somberglaw.com
Date: August 15, 2023




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